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             EXHIBIT 15
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Public Policy in 1995 and my A.B. in Social Studies in 1987 from Harvard University.

      4.       I have spent 26 years working as a researcher and have devoted substantial

resources to ensure that I can continue to perform high-quality education research, including by

attending academic conferences, presenting my research at universities around the world, and

staying current on the recent research in my area of expertise.

      5.         In 2022 I was elected to the National Academy of Education and have been a

member of this organization since that time.

      6.       My research focuses on understanding and reducing inequality in education. I study

the effects of charter schools, financial aid, postsecondary schooling, class size, and high school

reforms on academic achievement and educational attainment. My research on reducing

complexity and uncertainty in college pricing supported the passage of the Free Application for

Federal Student Aid (“FAFSA”) Simplification Act in 2020.

      7.       I teach “Research Partnerships for Improving Education,” “Design and Analysis of

Field Experiments in Education,” and “Seminar in Education Policy and Program Evaluation” at

HGSE. I have also taught “Quantitative Methods for Causal Inference,” and “Economics of

Education” at University of Michigan.

      8.       My scholarly work heavily relies on access to data collected, analyzed, and

disseminated by the Institute of Education Sciences (“IES”) and the National Center for

Educational Statistics (“NCES”), research center within the Department of Education (the

“Department”).

      9.       In particular, I rely on NCES’ National Assessment of Educational Progress

(“NAEP”), the National Post Secondary Student Aid Survey (“NPSAS”), Educational

Longitudinal Surveys (“ELS”), Integrated Postsecondary Education System (“IPEDS”), and



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Beginning Postsecondary Students (“BPS”). I have relied on these datasets for 28 years. They are

critical to my research and irreplicable.

      10.        I use these datasets to study the distribution of federal financial aid to understand

whether it is reaching the most disadvantaged students. I used the detailed, student-level data in

NPSAS to estimate how many questions could be eliminated from the FAFSA while still targeting

aid to the most disadvantaged students. This research became the basis for a policy proposal which

was the FAFSA Simplification Act, which shortened the FAFSA from over 100 questions to just

30.

      11.        I believe the simplification of FAFSA is not only beneficial for college students but

necessary. With tens of millions of students completing a FAFSA application every year, the

resources expended on FAFSA by American families, students, and university staff is enormous.

In the past, FAFSA’s length and complexity stood in the way of many prospective college students

who viewed the 10-page application as a barrier too large to overcome. Effectively, FAFSA’s

structure made it less accessible to the very students it was designed to aid most. In reducing the

number of questions from 108 to just 33, FAFSA has been made less time-intensive, less costly,

and more likely to be utilized by American college students in need of financial aid.

      12.        I plan to study the impact of the FAFSA Simplification Act on the number and

demographics of students applying for and receiving financial aid. This research requires student-

level data on FAFSA applications and financial aid received for the years before and after the

FAFSA Simplification Act. Without continued collection of the NPSAS surveys, this research will

be impossible.

      13.        Around February 11, 2025, I was made aware through email from the American

Educational Research Association and news reports that contracts necessary for the collection of



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NPSAS data were cancelled. Without these contracts, existing NPSAS surveys will not be updated

and new surveys will not be launched. Without NPSAS data, I will not be able to complete my

study of the impact of the FAFSA Simplification Act. I do not have access to any comparable

datasets or otherwise have access to the information needed for this research.

      14.      I was also made aware through emails from professional associations and news

articles that IES has significantly reduced its workforce. The remaining employees are unable to

conduct timely disclosure reviews of research based on restricted-use data. A PhD student of mine

uses restricted-use NCES data. Her contract states that data disclosures will be reviewed in three

to five business days. As of April 28, 2025, she has waited ten business days for a review and heard

nothing. This leaves her unable to publish her dissertation research, which will negatively affect

her career prospects.

      15.      Research that informs financial aid policy is imperative to improve college access

for historically underserved students, including Black, Latino, and/or Native students and

socioeconomically disadvantaged students. Students in both rural and urban areas face barriers in

attending college that my research serves to reduce.

      16.      Stopping research into how policy changes in financial aid affect students will cause

longstanding   irreparable   harm    to   socioeconomically     disadvantaged    students,   which

disproportionately include Black and other minority students.



   I declare under penalty of perjury that the foregoing is true and correct.

   Executed on April 29, 2025

                                                       __________________________

                                                       Susan Dynarski



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